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                       IN THE UNITED STATES DISTRICT COURT

                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                      :

               v.                             :              CRIMINAL NO. 20-210

MICHAEL "OZZIE" MYERS                         :

       GOVERNMENT’S RESPONSE TO DEFENDANT’S MOTION IN LIMINE TO
     DETERMINE IF THE DEFENSE CAN PRESENT WITNESSES TO CONTRADICT
               ASSERTIONS MADE BY GOVERNMENT WITNESS

        The United States of America, by its attorneys, Jennifer Arbittier Williams, Acting

United States Attorney for the Eastern District of Pennsylvania, and the undersigned attorneys,

hereby responds to defendant’s motion in limine to determine if the defense can present

witnesses to contradict assertions made by a government witness.

        Defendant Myers seeks court approval to call as defense witnesses an unknown number

of unidentified “election workers” who, he alleges, will deny that they “put up false or fraudulent

votes.” ECF No. 46 at ¶ 8. According to Myers, each unidentified election worker’s testimony

will “expressly contradict the information by [the] [g]overnment witness.” Id. at ¶ 10. Myers

has provided the Court with inadequate detail in his motion on which to base an evidentiary

ruling. Given this failure to provide the specifics needed to rule on admissibility, his motion in

limine should be denied.

I.      INTRODUCTION

        Defendant Michael “Ozzie” Myers is charged in the indictment with conspiring to violate

voting rights by fraudulently stuffing the ballot boxes – also known as ringing up votes - for

specific political candidates in the 2014, 2015, and the 2016 primary elections, bribery of an


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election official, falsification of records, voting more than once in federal elections, and

obstruction of justice. ECF No. 1. The charges arise out of his work as a paid political

consultant to candidates seeking elected office. Id. at ¶ 1. The trial evidence against Myers will

be based in part on the testimony of former judge of elections Dominic Demuro, along with

recordings of conversations between Demuro and defendant Myers.

       Myers wants the Court to give him permission to call “person(s)” who he contends will

contradict the testimony of Demuro in a subject area he “anticipates” will be covered by the

government on direct examination or by his attorneys during cross examination of Demuro. He

has not identified the “person(s)” in his motion or a separate document filed under seal with the

Court. He alleges that “most” of the persons have been interviewed by agents but does not

further specify how many witnesses fall within the “most” category. Moreover, he has not

provided the Court with details about any single witness, apparently preferring that the Court

issue an in limine order on a broad, general category of potential witnesses the defense may

subpoena based on testimony that is not yet before the Court. The defendant’s utter lack of

specificity is contrary to an informed assessment of the admissibility of evidence.

II.    DISCUSSION

       The need for defendant Myers to provide the Court with more detail to rule on his motion

is clearly required by the rules governing in limine motions. It is fundamental to our system of

advocacy that a district court is given wide latitude in deciding what should be allowed into

evidence. United States v. Romano, 849 F.2d 812, 815 (3d Cir. 1988). A trial court has a duty

to limit the jury's exposure to only that which is probative and relevant and must attempt to

screen from the jury any proffer that it deems irrelevant. Id. (citing Fed.R.Evid. 103(c)). One


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tool used by courts to fulfill this duty is the in limine order. Id. (citing Luce v. United States, 469

U.S. 38, 41 n. 4, 105 S.Ct. 460, 463 n. 4, 83 L.Ed.2d 443 (1984). Although the Federal Rules of

Evidence do not explicitly authorize in limine rulings, the modern practice of using in limine

orders to regulate the introduction of evidence has developed from the courts’ inherent authority

to manage trials. 21 C. Wright and K. Graham, Federal Practice and Procedure § 5042, at 232-

35 (1977).

       As the use of in limine motions has developed, so have certain rules. The party seeking

the in limine order bears the burden of demonstrating the admissibility of evidence. Kegerise v.

Susquehanna Township School District, 2019 WL 1507309 at * 4 (M.D. Pa. 2019). In

connection with this, motions in limine should be specific: they should identify the evidence

sought to be admitted or excluded and explain the basis for the relief sought. See United States

v. Bradford, 905 F.3d 497, 505 (7th Cir. 2018) (citing FRE 103(a)); Williams v. Dieball, 724

F.3d 957, 962 (7th Cir. 2013); Shay v. City of Los Angeles, 2019 WL 5420262 at * 1 (C.D. Cal.

2019) (party must identify the evidence at issue and state with specificity why such evidence is

inadmissible); see also Gemini Insurance Co. v. Titan Construction Services, LLC, 2019 WL

3004105 at * 1 (S.D.N.Y. 2019) (defendants' motions were cursory and unhelpful because: 1)

they sought blanket exclusion of roughly two dozen internal emails that they did not bother to

attach to their motion papers; 2) they failed to make any effort to discuss them individually; and

3) they failed to recognize that admissibility of specific emails at trial depended upon each email

itself (for example, whether it was hearsay, business record, or party admission)).

       Accordingly, a court may deny a motion in limine if it “lacks the necessary specificity

with respect to the evidence to be excluded.” Koch v. Koch Indus., Inc., 2 F. Supp.2d 1385, 1388


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(D. Kan. 1998) (quoting Nat’l Union Fire Ins. Co. v. L.E. Meyers Co. Group, 937 F. Supp. 276,

287 (S.D.N.Y. 1996)); Romero v. Helmerich & Payne Int’l Drilling Co., 2017 WL 3268878 at *

3 (D. Colo. 2017); see also Kegerise v. Susquehanna Township School District, 2019 WL

1507309 at * 4 (M.D. Pa. 2019) (movant bears the burden of demonstrating that the evidence is

inadmissible on any relevant ground, and court may deny motion in limine when it lacks the

necessary specificity with respect to evidence to be excluded); Cooper v. Meritor, Inc., 2019 WL

1028530 at * 1 (N.D. Miss. 2019); Shay v. City of Los Angeles, 2019 WL 5420262 at * 1 (C.D.

Cal. 2019) (failure to specify evidence that motion in limine seeks to exclude constitutes

sufficient basis upon which to deny motion). Relatedly, a motion in limine that is too sweeping

in scope should be denied. National Union Fire Insurance Co., 937 F. Supp. at 287 (motion was

too sweeping in scope to be decided; court reserved judgment on motion until trial, when

admission of particular pieces of evidence was in appropriate factual context); Chinacast

Education Corporation v. Chen Zhou Guo, 2018 WL 7448913 at * 2 (C.D. Cal. 2018) (motions

in limine to exclude broad categories of evidence prior to trial are usually improper as court is

almost always better situated to rule on evidentiary issues in their factual context during trial).

       Defendant’s motion runs afoul of the basic requirements of a motion to seek the

admissibility of evidence. Whereas the case law requires a degree of specificity, the defendant

gives none. He seeks to admit the testimony of an unknown number of witnesses, the identity of

whom is unknown to the Court. This alone complicates the management of the admissibility of

evidence. The Court would need to constantly inquire whether a witness called by the defense

was one of the witnesses alluded to under the defendant’s sweeping request for admissibility.

       Moreover, the defendant’s motion, devoid as it is of the specifics of each potential


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defense witness’s potential testimony, deprives the Court of the details it will need to determine

admissibility. Defendant’s conclusory assertion that the witnesses’ testimony contradicts

Demuro is a wholly inadequate basis to judge admissibility. Admissibility requires a more

searching inquiry, one that recognizes that context, nuance, and the ebb and flow of a trial are

critical considerations for a trial judge. Defendant gives no account of these considerations.

       Defendant’s motion in limine suffers the same deficiencies the trial court confronted in

Gemini Insurance Co. v. Titan Construction Services, LLC, 2019 WL 3004105 at * 1 (S.D.N.Y.

2019). In Gemini Insurance, the defendant filed a motion in limine to preclude the plaintiff from

admitting different types of evidence, including two dozen emails belonging to the defendant. In

evaluating the defendant’s entire motion, which the court characterized as “cursory and

unhelpful,” the district court critically evaluated each item of evidence to ascertain admissibility.

The court rejected the defendant’s claim that an administrative decision was too prejudicial for

admission in a bench trial and that sign-in sheets were irrelevant by carefully examining these

items within the context of a bench trial and application of rules governing relevance. Turning to

the emails, the court criticized the defendant for seeking a blanket exclusion and failing to

present the emails to the court for review. The court chastised the defendant for not discussing

each email individually, explaining that admissibility of each email must be ascertained. The

court also noted that there was some indication that the emails were relevant, but postponed final

decision on admissibility because it was not clear which emails were before it.

       Like the defendant in Gemini Insurance, defendant Myers has presented the Court with a

motion in limine that falls far short of specifics. He has not identified the witnesses or provided

the Court with support for his conclusion that any witness’ testimony will contradict Demuro.


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He has not discussed each putative witness in terms of relevance or any other consideration that

may bear on admissibility. In sum, the defendant, who has the burden to show admissibility, has

not provided the Court with enough information to permit a meaningful inquiry into

admissibility. Accordingly, the government requests that defendant’s motion be denied without

prejudice.

       WHEREFORE, for these reasons, the government respectfully submits that defendant’s

motion in limine to determine if the defense can present witnesses to contradict assertions made

by government witness be denied.

                                             Respectfully submitted,

                                             JENNIFER ARBITTIER WILLIAM
                                             Acting United States Attorney


                                             /s/ Richard P. Barrett
                                             RICHARD P. BARRETT
                                             ERIC L. GIBSON
Dated: May 14, 2021                          Assistant United States Attorneys




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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the Government’s Response to

Defendant’s Motion in limine to determine if the defense can present witnesses to contradict

assertions made by government witness has been served upon all counsel of record electronically

and via ECF.



                                            s/Richard P. Barrett
                                            RICHARD P. BARRETT
                                            Assistant United States Attorney


Dated: May 14, 2021




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